                                  Case 19-11223-MFW                   Doc 1        Filed 05/31/19           Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter

                                                                                                                               Check if this an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Business First, LLC

2.   All other names debtor used in the last 8
      years
                                  FKAMarlinkTelemarLLCFKATelemarUSA
     Include any assumed names,LLC
                               trade names and doing business as
     names

3.   Debtor's federal
      EmployerIdentificationNumber
      (EIN)                    XX-XXXXXXX


4.   Debtor's address            Principal place of business                                     Mailing address, if different from principal place of
                                                                                                 business

                                  11707 South Sam Houston Parkway West
                                  Suite 100
                                  Houston, TX 77031
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Locationofprincipalassets,ifdifferentfromprincipalplace of
                                  County                                                          business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.telemarusa.com


6.   Type of debtor                   Corporation(includingLimitedLiabilityCompany(LLC)andLimited Liability Partnership (LLP)) Partnership (excluding
                                      LLP)
                                      Other. Specify:




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                                       Case 19-11223-MFW                  Doc 1         Filed 05/31/19              Page 2 of 35
Debtor    Business First, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 19-11223-MFW                     Doc 1        Filed 05/31/19                Page 3 of 35
Debtor    Business First, LLC                                                                      Case number (if known)
          Name



11. Whyisthecasefiledinthis     Check all that apply:
    district?
                                       Debtorhashaditsdomicile,principalplaceofbusiness,orprincipalassetsinthisdistrictfor1 80daysimmediatelyprecedingthedateofthispe
                                       district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have possession of any real property or personal property that needs immediate
    attention?                   No
                                      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                 Yes.

                                           Why does the property need immediate attention? (Check all that apply.)
                                              It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                              It needs to be physically secured or protected from the weather.
                                               Itincludesperishablegoodsorassetsthatcouldquicklydeteriorateorlosevaluewithoutattention(fore xample,livestock,seasonalg
                                              securities-related assets or other options).
                                              Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                              No
                                              Yes.     Insurance agency
                                                       Contact name
                                                       Phone



          Statistical and administrative information

13. Debtor'sestimationofavailable
                                .       Check one:
    funds
                                           Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                           1,000-5,000 5001-10,000                            25,001-50,000 50,001-100,000 More
    creditors                                                                      10,001-25,000                                      than100,000
                                    50-99
                                    100-199
                                    200-999

15. Estimated Assets                $0 - $50,000 $50,001 -                         $1,000,001 - $10 million $10,000,001 - $5$050m
                                                                                                                                0i,l0li0
                                                                                                                                       o0n,0
                                                                                                                                           $051
                                                                                                                                              0,-00
                                                                                                                                                  $01,0
                                                                                                                                                      b0ill1io-n$$110,0 0m
                                                                                                                                                                         0i,l0li0
                                                                                                                                                                                o0n,0
                                                                                                                                                                                    $010
                                                                                                                                                                                       10-,
                                    $100,000                                       million                                            billion
                                    $100,001 - $500,000
                                    $500,001 - $1 million
                                                                                   $1,000,001 - $10 million $10,000,001 - $50   million $50,000,001
                                                                                                                            $500,000,001               - $100
                                                                                                                                            - $1 billion      million $100,
                                                                                                                                                          $1, 00,000,001  -
                                                                                   million                                  billion
16. Estimated liabilities           $0 - $50,000
                                    $50,001 - $100,000 $100,001 - $500,000 $500,001 - $1
                                    million




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                               page 3
Case 19-11223-MFW   Doc 1   Filed 05/31/19   Page 4 of 35
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                        RESOLUTION AUTHORIZING FILING OF
                    CHAPTER 11 BANKRUPTCY PETITION FOR RELIEF

         I, Thomas Collins, being an officer (the “Member”) of Business First, LLC (the

“Company”), adopt the below enumerated resolutions:

         WHEREAS, the Member has considered the financial aspects of the Company; and

         WHEREAS, the Member of the Company is authorized to file a voluntary petition (the

“Bankruptcy Proceeding”) under the provisions of chapter 11 of title 11 of the United States

Code, as amended (the “Bankruptcy Code”); and

         WHEREAS, the Member has reviewed and considered the Company’s options and the

recommendations of professionals and advisors to the Company as to the terms of the proposed

restructuring or liquidation to be implemented during the course of the Bankruptcy Proceeding.

NOW, THEREFORE, IT IS HEREBY RESOLVED:

         1.       It is desirable and in the best interests of the Company, its creditors and other

interested parties, that a voluntary petition be filed by the Company under the provisions of

chapter 11 of the Bankruptcy Code, with said petition to be filed in the United States Bankruptcy

Court for the District of Delaware.

         2.       The Member is directed, authorized and empowered to execute and file on behalf

of the Company all petitions, schedules, lists, affidavits, motions and other papers or documents,

and to take any and all action which the Member deems necessary or proper to obtain such relief,

if, in the judgment of the Member, the Company is adequately prepared prior to such filings.

         3.       The Member is directed, authorized and empowered to employ on behalf of the

Company, McCarter & English, LLP, a law firm with experience and expertise in the areas of

workouts, non-bankruptcy reorganizations and bankruptcy reorganizations in similar situations to

that of the Company.


ME1 30362941v.1
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                                           Case 19-11223-MFW                                      Doc 1              Filed 05/31/19                        Page 8 of 35
 Fill in this information to identify the case:

 Debtor name            Business First, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................              $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                 $             62,608.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                $             62,608.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                              $                     0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                 $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                         +$         6,323,821.06


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                                   6,323,821.06




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                              page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                       Best Case Bankruptcy
                                    Case 19-11223-MFW                     Doc 1      Filed 05/31/19           Page 9 of 35
 Fill in this information to identify the case:

 Debtor name          Business First, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo                                            Checking                         7832                                    $52,226.17



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $52,226.17
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Credits or pre-payments with Debtor's vendors                                                                                   $10,382.68




 9.         Total of Part 2.                                                                                                                     $10,382.68
            Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                                   Case 19-11223-MFW                         Doc 1     Filed 05/31/19            Page 10 of 35

 Debtor         Business First, LLC                                                                Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.        Accounts receivable
            11a. 90 days old or less:                                19,000.00   -                          19,000.00 = ....                $0.00
                                              face amount                            doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                            $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
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                                   Case 19-11223-MFW                      Doc 1      Filed 05/31/19         Page 11 of 35

 Debtor         Business First, LLC                                                           Case number (If known)
                Name


        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                               2,000.00 -                             2,000.00 =
            Insurance Note Payable                                    Total face amount     doubtful or uncollectible amount                         $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                     $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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                                     Case 19-11223-MFW                               Doc 1           Filed 05/31/19                  Page 12 of 35

 Debtor          Business First, LLC                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $52,226.17

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                $10,382.68

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Officefurniture,fixtures,andequipment;andcollectibles.Copyline43,Part
     7.                                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $62,608.85           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $62,608.85




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                                   Case 19-11223-MFW                  Doc 1      Filed 05/31/19          Page 13 of 35
 Fill in this information to identify the case:

 Debtor name         Business First, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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                                   Case 19-11223-MFW                       Doc 1          Filed 05/31/19                 Page 14 of 35
 Fill in this information to identify the case:

 Debtor name         Business First, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,250.00
           Anka Marine Electronics
           PostaneMahRaufOrbayCadEmirSKNo:                                      Contingent
           7                                                                    Unliquidated
           Tuzla 34940, Istanbul                                                Disputed
           TURKEY
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,788.00
           B&B Battery Global, Inc.
           57 Dong Si Road, Changsha National Economic & Technical
                                                          Contingent Develoment Zone Hunan
           410100                                         Unliquidated
           CHINA                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,000.00
           Cardinal Marine Experts LLC Silver Tower - Marasi Dr.
                                                             Contingent
           Dubai                                             Unliquidated
           UNITED ARAB EMIRATES                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,200.00
           Chengxi Shipyard Co., Ltd.                                           Contingent
           No. 1, Hengshan Road                                                 Unliquidated
           Lingangxincheng, Citta Del Jiangyin                                  Disputed
           CHINA
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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                                   Case 19-11223-MFW                       Doc 1          Filed 05/31/19                 Page 15 of 35
 Debtor       Business First, LLC                                                                     Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $5,596,104.59
          Compagnia Generale Telemar                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $522.00
          Daburn Electronics & Cable 44 Richboynton Road Dover,   NJ
                                                          Contingent
          07801                                           Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $765.00
          InternationalAeradioPakistan411C lifton                               Contingent
          Centre                                                                Unliquidated
          Karachi                                                               Disputed
          PAKISTAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42.18
          KDDI Corporation                                                      Contingent
          1-8-1,Otemachi,Chiyoda-KUTokyo                                        Unliquidated
          100-8186                                                              Disputed
          JAPAN
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $142.65
          KVH Industries, Inc.                                                  Contingent
          50 Enterprise Center                                                  Unliquidated
          Middletown, RI 02842-5279                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,987.36
          L3 Communications                                                     Contingent
          100 Cattlemen Rd.                                                     Unliquidated
          Sarasota, FL 34232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,346.63
          L3 Communications Australia                                           Contingent
          108 Marine Terrace                                                    Unliquidated
          Fremantle, Western Australia 6160                                     Disputed
          AUSTRALIA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 5
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 Debtor       Business First, LLC                                                                     Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,493.67
          Marine Hellas                                                         Contingent
          Thetidos 12                                                           Unliquidated
          Glyfada                                                               Disputed
          GREECE
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $390,185.17
          Marlink AS                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $725.44
          Marlink BV                                                            Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,123.23
          Marlink GmbH                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $173,854.55
          Marlink, Inc.                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,595.25
          Marlink-Telemar Singapore Pte. Ltd.                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $79.00
          Naval Radio Peru Cochrane 639, Suite 57                               Contingent
          Valaparaiso                                                           Unliquidated
          CHILE                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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 Debtor       Business First, LLC                                                                     Case number (if known)
              Name

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $235.21
           Navically Oy Ltd. Ratakatu 13                                        Contingent
           Kotka                                                                Unliquidated
           FINLAND                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $51.95
           O'Connell and Associates 900 Barrington Court Louisville,
                                                            ContingentKY
           40207                                            Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $96.45
           S E A Inc.                                                           Contingent
           7030 220th St., S.W.                                                 Unliquidated
           Mountlake Terrace, WA 98043                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $11.54
           Servicious Navieramar Group 1717 Turning Basin Dr., St. 445 Houston,
                                                           Contingent
           TX                                              Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $14,211.73
           Telemar Shanghai Ltd.                                                Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $88,009.46
           Telemar UK Limited                                                   Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the       Last 4 digits of account number, if
                                                                                                     related creditor (if any) listed?             any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       Business First, LLC                                                                 Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $                    0.00
 5b. Total claims from Part 2                                                                       5b.   +   $            6,323,821.06

 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                           5c.       $              6,323,821.06




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Business First, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1        State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2        State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3        State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4        State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Business First, LLC

 United States Bankruptcy Court for the:               DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                               Mailing Address                                   Name                          Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                            D
                                                Street                                                                             E/F
                                                                                                                                   G

                                                City                 State       Zip Code


    2.2                                                                                                                            D
                                                Street                                                                             E/F
                                                                                                                                   G

                                                City                 State       Zip Code


                                                                                                                                   D
                                                Street                                                                             E/F
                                                                                                                                   G

                                                City                 State       Zip Code


                                                                                                                                   D
                                                Street                                                                             E/F
                                                                                                                                   G

                                                City                 State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:
 Debtor name Business First, LLC
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                         amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and complete
                            Name,
                               mailing
                                   telephone
                                       address,
                                             number
                                                including
                                                     and
                                                       Nature
                                                          email
                                                          zip ofaddress
                                                                  claim of creditor Indicate if claim Amount of claim
 code                       contact                    (for example, trade debts, bank
                                                                                     is loans, professional
                                                                                        contingent,     Ifthe
                                                                                                            services,
                                                                                                             claimisfully
                                                                                                                      andunsecured,
                                                                                                                          government
                                                                                                                                   fillinonlyunsecuredclaimamount.Ifclaimispartiallysecured,f
                                                       contracts)                   unliquidated, or claim.
                                                                                        disputed
                                                                                                        Total claim, if          Deduction for value       Unsecured claim
 Anka Marine Electronics Postane Mah Rauf Orbay                                                         partially secured        of collateral or setoff
 Cad                                                                                                                                                                 $1,250.00
 Emir SK No: 7
 Tuzla 34940,
 Istanbul
 TURKEY
 B&B Battery Global,
 Inc.
 57 Dong Si Road,                                                                                                                                                    $1,788.00
 Changsha National
 Economic &
 Technical Develoment Zone Hunan 410100
 CHINA
 Cardinal Marine Experts LLC Silver Tower - Marasi Dr.
 Dubai
 UNITED ARAB
 EMIRATES
 ChengxiShipyardCo.,                                                                                                                                                 $1,000.00
 Ltd.
 No. 1, Hengshan Road Lingangxincheng, Citta Del Jiangyin
 CHINA
 DaburnElectronics&
 Cable
 44 Richboynton
 Road                                                                                                                                                                $1,200.00
 Dover, NJ 07801




                                                                                                                                                                        $522.00




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                           page 1

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 Debtor    Business First, LLC                                                                               Case number (if known)
           Name

 Name of creditor and complete
                            Name,
                               mailing
                                   telephone
                                       address,
                                             number
                                                including
                                                     and
                                                       Nature
                                                          email
                                                          zip ofaddress
                                                                  claim of creditor Indicate if claim Amount of claim
 code                       contact                    (for example, trade debts, bank
                                                                                     is loans, professional
                                                                                        contingent,     Iftheclaimisfullyunsecured,fillinonlyunsecuredclaimamount.Ifclaimispartiallysecured,
                                                       services,                    unliquidated, or claim.
                                                                                        disputed
                                                       and government                                   Total claim, if partially Deduction for value of collateral
                                                                                                                                                           Unsecuredorclaim
                                                       contracts)                                       secured                   setoff
 International Aeradio Pakistan 411 Clifton Centre Karachi                                                                                                              $765.00
 PAKISTAN
 KDDI Corporation 1-8-1, Otemachi,
 Chiyoda-KU Tokyo 100-8186
 JAPAN
 KVH Industries, Inc. 50 Enterprise Center Middletown, RI                                                                                                                 $42.18
 02842-5279



                                                                                                                                                                       $142.65
 L3 Communications 100 Cattlemen Rd. Sarasota, FL             Subject to                                                                                             $1,987.36
 34232                                                        Setoff
 L3 Communications
 Australia                                                    Subject to                                                                                             $3,346.63
 108 Marine Terrace Fremantle, Western Australia 6160         Setoff
 AUSTRALIA
 Marine Hellas Thetidos 12 Glyfada
 GREECE
 Naval Radio Peru Cochrane 639,
 Suite                                                                                                                                                               $4,493.67
 57
 Valaparaiso
 CHILE
 Navically Oy Ltd. Ratakatu 13                                                                                                                                            $79.00
 Kotka
 FINLAND
 O'Connell and Associates 900 Barrington
 Court
 Louisville, KY 40207                                                                                                                                                   $235.21
 S E A Inc.
 7030 220th St., S.W.
 Mountlake Terrace,
 WA 98043                                                                                                                                                                 $51.95
 Servicious Navieramar Group 1717 Turning Basin Dr., St. 445 Houston,
 TX


                                                                                                                                                                          $96.45



                                                                                                                                                                          $11.54




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                           page 2

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 Fill in this information to identify the case:

 Debtor name         Business First, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identifythebeginningandendingdatesofthedebtor’sfiscalyear,whichmaybea
                                                                           Socurces
                                                                              alendar
                                                                                    o f revenue                                            Gross revenue
       year                                                                Check all that apply                                            (before deductions and
                                                                                                                                           exclusions)

       Fromthebeginningofthefiscalyeartofilingdate:From1/01/2019toFiling Operating a business                                                           $14,000.00
       Date                                                                      Non-OperationalRevenue
                                                                                 (debts
                                                                         Other written off)



       For prior year:                                                                             Operating a business                             $1,902,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $4,671,392.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor      Business First, LLC                                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1
       .
               CSC                                                                                              $472.00               Secured debt
               251 Little Falls Drive                                                                                                 UnsecuredloanrepaymentsSuppliersor
               Wilmington, DE 19808-1674                                                                                              vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title Case                                   Nature of case             Court or agency's name and                 Status of case
               number                                                                       address

8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
    the gifts to that recipient is less than $1,000

           None


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 Debtor        Business First, LLC                                                                            Case number (if known)



                Recipient's name and address                     Description of the gifts or contributions                       Dates given                                 Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       DescriptionofthepropertylostandhowthelossAmount of payments received for the loss                                         Dates of loss                 Value of property
       occurred                                                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for example, from insurance, government compensation, or tort liability, list the
                                                                 received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Whowaspaidorwho received the                        If not money, describe any property transferred                 Dates                      Total amount or
                 transfer?                                                                                                                                                value
                 Address
       11.1.     McCarter & English, LLP
                 405 N. King St., 8th Fl.
                 Wilmington, DE 19801                                                                                                3/27/19                         $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     McCarter & English, LLP
                 405 N. King St., 8th Fl.
                 Wilmington, DE 19801                                                                                                5/14/19                         $18,696.50

                 Email or website address


                 Who made the payment, if not debtor?




       11.3.     McCarter & English, LLP
                 405 N. King St., 8th Fl.
                 Wilmington, DE 19801                                                                                                5/29/19                         $40,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                  page 3
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 Debtor      Business First, LLC                                                                          Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers                 Total amount or
                                                                                                                        were made                                value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or payments recDeaivteetdraonrsfdeerb
                                                                                                                                         wtasspaid in   Total amount or
               Address                                           exchange                                           made                                         value
       13.1 Marlink, Inc.
       .                                                         Customer relationships                                    5/1/18                       $1,657,646.25

               Relationship to debtor
               Affiliate


       13.2 Telemar UK Limited
       .                                                         Inventory                                                 10/12/18                        $58,566.99

               Relationship to debtor
               Affiliate


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services                If debtor provides meals and housing
                                                                 the debtor provides                                                         care


 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 4
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 Debtor      Business First, LLC                                                                         Case number (if known)



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of account Type of account or           Date account wLaasstcb
                                                                                                                                            loaslaendc,eso
                                                                                                                                                         bledfo
                                                                                                                                                              ,m
                                                                                                                                                               reocvlo
                                                                                                                                                                     esdi,nogr or
              Address                                            number                   instrument                   transferred                                   transfer

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents                      Do you still
                                                                     access to it                                                                          have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents                      Do you still
                                                                     access to it                                                                          have it?


 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


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 Debtor      Business First, LLC                                                                         Case number (if known)




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                      Describe the nature of the business             Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Ralph and Ralph, PC
                    1 Greenway Plaza, #320
                    Houston, TX 77046

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None


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 Debtor       Business First, LLC                                                                        Case number (if known)



       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1
       .                                                                                     2018

               Nameandaddressofthepersonwhohaspossessionofinventory
               records
               Business First, LLC



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of              Dates             Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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KATE R. BUCK                      L3 COMMUNICATIONS                      O'CONNELL AND ASSOCIATES
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405 N. KING STREET, 8TH FLOOR RENAISA
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TUZLA 34940, ISTANBUL           108 MARINE TERRACE               7030 220TH ST., S.W.
TURKEY                          FREMANTLE, WESTERN AUSTRALIA 6160MOUNTLAKE TERRACE, WA 98043
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B&B BATTERY GLOBAL, INC.

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CARDINAL MARINE EXPERTS LLC SILVER TOWER - MARASI DR.
DUBAI
UNITED ARAB EMIRATES                 MARLINK AS                          TELEMAR SHANGHAI LTD.


CHENGXISHIPYARDCO.,LTD.NO.1,HENGSHAN
ROAD

                                  MARLINK BV                             TELEMAR UK LIMITED
LINGANGXINCHENG, CITTA DEL JIANGYIN
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                                 MARLINK-TELEMAR SINGAPORE PTE. LTD.
CENTRE
KARACHI
PAKISTAN


KDDI CORPORATION                     NAVAL RADIO PERU
1-8-1,OTEMACHI,CHIYODA-KUT OKYO      COCHRANE 639, SUITE 57
100-8186                             VALAPARAISO
JAPAN                                CHILE
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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Business First, LLC                                                                           Case No.
                                                                                 Debtor(s)                Chapter    11




                                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Business First, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Compagnia Generale Telemar S.p.A.




    None [Check if applicable]




 May 31, 2019                                                        /s/ Kate R. Buck
 Date                                                                Kate R. Buck 5140
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Business First, LLC
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